Case 1:24-cv-00313-MJT Document 10-5 Filed 09/03/24 Page 1 of 8 PageID #: 542




   5
                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION



        Peter Harris and Loni Harris,


                      Plaintiffs,                   Case No. 1:24-cv-00313


              v.


        Upwintrade.com, a business                  Declaration of
        association; David Shamlian, an             Marshal Hoda
        individual; John Does 1 – 20,


                      Defendants.



             I, Marshal Hoda, state and swear as follows.

             I.       Introduction

             1.       My name is Marshal Hoda. I am of sound mind and capable of

       making this Affidavit. I have personal knowledge of the facts stated herein.

             2.       I represent Peter and Loni Harris, the plaintiffs in this matter.

             II.      Notice to Defendants

             3.       I notified the Defendants of the upcoming preliminary-

       injunction hearing via four distinct channels. I have attached true and correct

       documentation of the notice to this Declaration, as indicated below.

             •     Email to info@davidshamlian.com (Attachment A);

             •     Email to payments@upwintrade.com (Attachment B);


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             •    Skype message to the account of David Shamlian (Attachment C);

             •    Submission via the customer-service chat on www.upwintrade.com

                  (Attachment D).

             4.      In addition, I participated in a video screenshare with my client,

       Peter Harris, in which he transmitted notice via Skype message to David

       Shamlian's account from his own Skype account. I have attached

       documentation of this notice as Attachment E.

             III.    Status of Account Freezes and Subpoenas

             5.      There has been significant activity in the weeks since the Court

       issued the extant Temporary Restraining Order in this case (the “Order”). I

       transmitted the Order and subpoenas on Bybit, Binance, Remitano, and

       Revolut (the “Receiving Exchanges”).

             6.      Binance and Revolut appear to have implemented account

       freezes voluntarily. Binance has indicated that it will produce information in

       response to our subpoena but has requested another month to do so. Revolut

       continues to take the position that we must serve its London-based parent

       company via the Hague Convention. Bybit and Remitano have taken action

       on grounds that I will be happy to elaborate for the Court at the hearing.

             7.      We have served or initiated service of subpoenas on six

       additional third parties as authorized in the Order. We expect to begin

       receiving responsive documents by September 6, 2024.




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                                   VERIFICATION

             I, Marshal Hoda, hereby verify and declare under penalty of

       perjury that the foregoing is true and correct.




                                                  __________________________
                                                  Marshal Hoda


                                                  Dated: September 2, 2024




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  Attachment A

                                                Monday, September 2, 2024 at 18:39:14 Central Daylight Time

 Subject: Legal Notice re: Injunction Hearing
 Date:     Thursday, August 29, 2024 at 3:16:44 PM Central Daylight Time
 From:     Marshal Hoda <marshal@thehodalawﬁrm.com>
 To:       info@davidshamlian.com <info@davidshamlian.com>


 To whom it may concern:

 You have been sued by Peter Harris and Loni Harris. My law ﬁrm represents the Harrises in
 this matter. The case is Harris v. Upwintrade.com, et al., No. 1:24-CV-00313-MJT (E.D. Tex.).

 The purpose of this message is to provide you notice of an upcoming hearing in this case.
 The Court will hold a Preliminary Injunction Hearing on September 4, 2024 at 1:30 pm U.S.
 Central Time in Courtroom 2, Jack Brooks Federal Courthouse, 300 Willow Street,
 Beaumont, Texas.

 You can view and download the pleadings in this case, including the Court’s Order setting
 the preliminary injunction hearing, at the following webpage:
 https://www.hlfeservice.com/harrisvupwintrade.

 The Harrises will be ﬁling a Motion for Preliminary Injunction prior to the September 4th
 hearing, which will be uploaded to the webpage provided above when it is ﬁled.

 You can contact me at marshal@thehodalawﬁrm.com.

 Regards,
 Marshal J. Hoda
 Attorney & Founder
 The Hoda Law Firm, PLLC




                                                                                                              1 of 1
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 Attachment
                                                Monday, September 2, 2024 at 18:38:05 Central Daylight Time

 Subject: Legal Notice re: Injunction Hearing
 Date:     Thursday, August 29, 2024 at 3:14:45 PM Central Daylight Time
 From:     Marshal Hoda <marshal@thehodalawﬁrm.com>
 To:       payments@upwintrade.com <payments@upwintrade.com>
 Priority: High


 To whom it may concern:

 You have been sued by Peter Harris and Loni Harris. My law ﬁrm represents the Harrises in
 this matter. The case is Harris v. Upwintrade.com, et al., No. 1:24-CV-00313-MJT (E.D.
 Tex.).

 The purpose of this message is to provide you notice of an upcoming hearing in this case.
 The Court will hold a Preliminary Injunction Hearing on September 4, 2024 at 1:30 pm U.S.
 Central Time in Courtroom 2, Jack Brooks Federal Courthouse, 300 Willow Street,
 Beaumont, Texas.

 You can view and download the pleadings in this case, including the Court’s Order setting
 the preliminary injunction hearing, at the following webpage:
 https://www.hlfeservice.com/harrisvupwintrade.

 The Harrises will be ﬁling a Motion for Preliminary Injunction prior to the September 4th
 hearing, which will be uploaded to the webpage provided above when it is ﬁled.

 You can contact me at marshal@thehodalawﬁrm.com.

 Regards,
 Marshal J. Hoda
 Attorney & Founder
 The Hoda Law Firm, PLLC




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 Case 1:24-cv-00313-MJT Document 10-5 Filed 09/03/24 Page 6 of 8 PageID #: 547



Attachment
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8/29/24, 3:26 PM       Attachment D                                    Chat log from upwintrade.com



                              Chat log from upwintrade.com
                   8/29/2024 3:24:37 PM, agent
                   Hi. Have any questions? Ask away!


                   8/29/2024 3:25:02 PM, you
                   To whom it may concern: You have been sued by Peter Harris and Loni Harris.
                   My law ﬁrm represents the Harrises in this matter. The case is Harris v.
                   Upwintrade.com, et al., No. 1:24-CV-00313-MJT (E.D. Tex.). The purpose of this
                   message is to provide you notice of an upcoming hearing in this case. The
                   Court will hold a Preliminary Injunction Hearing on September 4, 2024 at 1:30
                   pm U.S. Central Time in Courtroom 2, Jack Brooks Federal Courthouse, 300
                   Willow Street, Beaumont, Texas. You can view and download the pleadings in
                   this case, including the Court’s Order setting the preliminary injunction hearing,
                   at the following webpage: https://www.hlfeservice.com/harrisvupwintrade. The
                   Harrises will be ﬁling a Motion for Preliminary Injunction prior to the September
                   4th hearing, which will be uploaded to the webpage provided above when it is
                   ﬁled. You can contact me at marshal@thehodalawﬁrm.com. Regards, Marshal
                   J. Hoda Attorney & Founder The Hoda Law Firm, PLLC




ﬁle:///Users/hodalaw/Desktop/2024-08-29 Upwintrade.com Chat Log.html                                    1/1
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                                                                                                          Attachment E
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                                                                                                                                  Marshal J. Hoda
                                                                                                                                  Attorney & Founder
                                                                                                                                  The Hod.a Law firm, Pl.LC
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